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IN THE UNITED sTATEs DisTRlCT CoURT 05 § 0
FoR THE WESTERN DISTRICT oF TENNESSEE ~'UN 13 AH a.- 15

EASTERN DIVISION ,j@§:;§_~f¥, E,‘ 01 TROUO
JERRY T. BURKE, ) V'}‘!L§H§FUT§ gang
Plaintiff, §
vs i NO. 05-2028_T/An
TENNESSEE DEPARTMENT oF §
CoRRECTIoN, ET AL., )
Defendams. §

 

ORDER ON MOTION FOR DETERMINATION OF STATUS OF CASE

 

Plaintiff Jerry T. Burke filed this action on January ll, 2005. On April 19, 2005, the case
Was transferred from the Westem Division of the Westem District ofTennessee, at Memphis, to the
Eastem Division of the Western District, at Jackson. On June 9, 2005 plaintiff submitted a“l\/Iotion
for Determination of Status of Case.”

lt is not necessary to iile a motion in order to obtain information about the Status of a case;
a simple inquiry to the Court Clerk’s office will suffice However, this case is currently undergoing
Screening pursuant to 28 U.S.C. § 1915(e)(2) and § 1915A. Plaintiff will be notified if and When the
action is allowed to proceed further
lT IS SO ORDERED.

Qn/vwd-Q»¢/M

JA ' s D. Tot)o
TED STATES DISTRICT JUDGE

/DQMM ;ms'

DATE l/

This document entered on the docket sheet in compiiance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CV-02028 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

Jerry T. Burke
NWCX

142942

960 State Route 212
Tiptonville7 TN 38079

Honorable .l ames Todd
US DISTRICT COURT

